935 F.2d 1286Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.David Charles McCLINTON, Plaintiff-Appellant,v.C.W. KIDD, Robert Samuels, Deputy, Julius Lloyd, Defendants-Appellees.
    No. 91-6780.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 3, 1991.Decided June 24, 1991.
    
      Appeal from the United States District Court for the Western District of North Carolina, at Charlotte.  Graham C. Mullen, District Judge.  (CA-90-184-MU)
      David Charles McClinton, appellant pro se.
      James Orr Cobb, Jr., Charlotte, N.C., for appellees.
      W.D.N.C.
      AFFIRMED.
      Before WIDENER, MURNAGHAN and NIEMEYER, Circuit Judges.
      PER CURIAM:
    
    
      1
      David Charles McClinton appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  McClinton v. Kidd, CA-90-184-MU (W.D.N.C. Jan. 29, 1991).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    